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                                   IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                     AIKEN DIVISION

CENTRAL MUTUAL INSURANCE                         )       Civil Action No. 1:21-cv-00469-JMC
COMPANY AS SUBROGEE OF                           )
BRENDA WYATT,                                    )
                                                 )
         Plaintiff,                              )      PLAINTIFF’S MEMORANDUM IN
                                                 )       SUPPORT OF ITS MOTION FOR
vs.                                              )      PARTIAL SUMMARY JUDGMENT
                                                 )
RESIDEO TECHNOLOGIES, INC.,                      )
THERMA-STOR, LLC, AND REGAL                      )
BELOIT CORPORATION,                              )
                                                 )
         Defendants.                             )


        Plaintiff Central Mutual Insurance Company as subrogee of Brenda Wyatt (“Plaintiff” or

“Central”) files this Motion for Partial Summary Judgment against Defendants Therma-Stor,

LLC (“Therma-Stor”) and Resideo Technologies, Inc. (“Resideo”) with respect to their statute of

limitations and statute of repose affirmative defenses, and would respectfully show the Court the

following:

                                      I. BACKGROUND

        This lawsuit arises out of a fire that caused significant damage Brenda Wyatt’s home

(“Wyatt Home”) and its contents. Central paid Brenda Wyatt for her property damages pursuant

to her insurance policy and brought this lawsuit against Defendants to recover its damages. In

their answers, Defendants Therma-Stor and Resideo asserted the statute of limitations and statute

repose as affirmative defenses. Specifically, Defendants allege that Plaintiff’s lawsuit is barred

by an eight year statute of repose because the dehumidifier that forms the basis of the Plaintiff’s

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                         product liability claims is a permanent improvement to real property. As a matter of law,

Defendants’ assertions are baseless, and Plaintiff is entitled to summary judgment on Therma-

Stor and Resideo’s statute of limitations and statute of repose affirmative defenses.

               I. INDISPUTABLE FACTS AND PROCEDURAL HISTORY

1.     The Wyatt home located at 5139 Webtar Lane in Graniteville, South Carolina (“Wyatt

Home”) was built in 2008. At that time, two Honeywell DH90 dehumidifiers, including the one

that Plaintiff alleges failed and caused the fire (the “Dehumidifier”), were installed in the

basement of the home. See Durig Affidavit, ¶ 6a.

2.     The dehumidifiers helped maintain a specified level of humidity in the Wyatt Home. See

Durig Affidavit, ¶ 6a.

3.     The Dehumidifier is an appliance, or product, that sat on the floor of the basement and

was not permanently secured to the floor. See Durig Affidavit, ¶ 6d.

4.     The Dehumidifier was powered through a standard power cord that plugged into a

standard 120V outlet. The Dehumidifier was not hardwired into the Wyatt Home’s electrical

system. See Durig Affidavit, ¶ 6b.

5.     The exemplar dehumidifier was secured to the HVAC duct system via a short flexible

hose. The exemplar dehumidifier was not permanently attached to the home’s air duct system.

The Dehumidifier appeared to have been installed in the same fashion as the exemplar

dehumidifier. See Durig Affidavit, ¶ 6c.

6.     Defendant Therma-Stor admitted it designed, manufactured, and sold the Dehumidifier.

See Therma-Stor, LLC’s Answer to Complaint, ¶ 7.


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        Defendant Reside7o. admitted that it distributed the Dehumidifier. See Answer of Resideo

Technologies, Inc., ¶ 9.

8.      On November 18, 2018, a fire originated in the basement of the Wyatt Home in the

Dehumidifier (“Fire”). Durig Affidavit, ¶ 4. Plaintiff alleges that the Dehumidifier failed due to

a product defect and caused the Fire. Id.

9.      A person without special or technical expertise could easily remove the Dehumidifier

from the basement of the Wyatt Home by unplugging it from the wall and detaching it from the

HVAC duct. Durig Affidavit, ¶ 6e. After the Fire, the Graniteville Fire Department removed the

Dehumidifier from the basement. Id.

10.     The Dehumidifier was a mass-produced appliance. Except for the alleged product defect,

the Dehumidifier was identical to other mass-produced Honeywell DH90 dehumidifiers. Durig

Affidavit, ¶ 6g.

11.     The Dehumidifier was not custom made or specially designed for the Wyatt Home. Durig

Affidavit, ¶ 6f.

12.     On December 11, 2020, Plaintiff filed this lawsuit against both Defendants. See

Plaintiff’s Complaint.

13.     Defendant Therma-Stor alleges that Plaintiff’s claims are “barred by the applicable

statutes of limitations and/or the applicable statute of repose,” because the Dehumidifier “is an

improvement to real property subject to South Carolina’s 8-year statute of repose.” Therma-Stor,

LLC’s Answer to Complaint, Eighth Affirmative Defense; Therma-Stor LLC’s Responses to

Plaintiff’s First Set of Interrogatories, Interrogatory Number 6.


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       Defendant Resid1e4o. alleges that Plaintiff’s claims “may be barred by the…statute of

limitations.” Answer of Resideo Technologies, Inc., ¶ 36. Defendant Resideo also alleges in its

interrogatory answers “that the dehumidifier constituted an improvement to real property.”

Defendant Resideo Technologies, Inc.’s Answers to Plaintiff’s Interrogatories, Interrogatory

Number 6.

                           I. ARGUMENTS AND AUTHORITIES

       Plaintiff seeks summary judgment on Defendants Therma-Stor and Resideo’s affirmative

defenses of statute of limitations and statue of repose. Simply put, there is no genuine issue of

material fact and Plaintiff should have judgment as a matter of law on these affirmative defenses.

Plaintiff indisputably brought this lawsuit timely under the applicable South Carolina statute of

limitations and South Carolina does not have a stature of repose for products like the defective

Dehumidifier in this case.     Therefore, Plaintiff requests that the Court grant it summary

judgment on these affirmative defenses.

A.     Burdens of Proof

       A defendant who asserts an affirmative defense bears the burden of proving that defense.

Bartels v. Saber Healthcare Group, LLC, 880 F.3d 668, 681 (4th Cir. 2018); Lorick & Lowrance,

Inc. v. Julius H. Walker & Co., 153 S.C. 309, 150 S.E. 789, 792 (S.C.1929) (“When a defendant

interposes an affirmative defense, he becomes as to that matter the actor in the suit, and burden

of proof rests upon him to establish his affirmative defense by preponderance of the evidence.”).

Thus, when a plaintiff moves for summary judgment on an affirmative defense that it does not

bear the ultimate burden of persuasion at trial, it may discharge its burden by demonstrating to


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                        the court that there is an absence of evidence to support a defendant’s affirmative defense.

Celotex Corp. v. Catrett, 477 U.S. 317, 325, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). The

defendant as non-movant must then “make a showing sufficient to establish the existence of an

element essential to that party’s case, and on which that party will bear the burden of proof at

trial.” Id. at 322, 106 S.Ct. 2548. “[A]t the summary judgment stage the judge’s function is not

himself to weigh the evidence and determine the truth of the matter but to determine whether

there is a genuine issue for trial.” Id. at 249, 106 S.Ct. 2505. Although reasonable inferences are

to be drawn in favor of the nonmoving party, the nonmoving party must rely on more than

conclusory allegations, mere speculation, the building of one inference upon another, or the mere

existence of a scintilla of evidence. Id. “[A] party opposing a properly supported motion for

summary judgment . . . must ‘set forth specific facts showing that there is a genuine issue for

trial.’ ” Bouchat v. Baltimore Ravens Football Club, Inc. 346 F.3d 514, 522 (4th Cir. 2002); Fed.

R. Civ. P. 56(e). If the adverse party fails to provide evidence establishing that the fact finder

could reasonably decide in his favor, then summary judgment shall be entered “regardless of

‘[a]ny proof or evidentiary requirements imposed by the substantive law.’ ” Id.; Addax Energy

SA v. M/V Yasa H. Mulla, 987 F.3d 80 (4th Cir. 2021).

B.     Statute of Limitations

       As a matter of law, Plaintiff timely brought this lawsuit against both Defendants. See

S.C. Code Ann. § 15-3-530(3)(4); § 15-3-535.               South Carolina’s three (3) year statute of

limitations for damages to real property and to personal property provides the period for the

commencement of an action as follows: “Within three years:


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                        (1) an action upon a contract, obligation, or liability, express or implied, excepting those
       provided for in Section 15-3-520;

       (2) an action upon a liability created by statute other than a penalty or forfeiture;

       (3) an action for trespass upon or damage to real property;

       (4) an action for taking, detaining, or injuring any goods or chattels including an action
       for the specific recovery of personal property; . . . .” (emphasis added).

In this case, it is indisputable that the Fire that damaged Plaintiff’s subrogor occurred on

November 18, 2018. It is also indisputable that Plaintiff filed this lawsuit on December 11,

2020, well within the three (3) statute of limitations. Consequently, Defendants’ statute of

limitations affirmative defense fails as a matter of fact and a matter of law and Plaintiff should

have summary judgment on this affirmative defense.

C.     Statute of Repose

       Although their pleadings are unclear, Defendants Therma-Stor and Resideo argue that the

Plaintiff’s claims are barred by South Carolina’s statute of repose set forth in S.C. Code Ann. §

15-3-640. As a matter of fact and matter of law, § 15-3-640 does not apply to Plaintiff’s claims

because the statute is expressly limited to claims concerning the completion of a permanent

improvement to real property, and not the manufacturer and use of a defective appliance

(product) like the Dehumidifier. South Carolina does not have a statute of repose for product

liability claims, like those currently being asserted by Plaintiff against Defendants.

       Section 15-3-640 states that “No actions to recover damages based upon or arising out of

the defective or unsafe condition of an improvement to real property may be brought more

than eight years after substantial completion of the improvement.” (emphasis added). South

Carolina courts consider three factors in identifying an “improvement to real property”: (1)

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                        whether it makes the property more valuable, (2) whether it involved the investment of money

and labor, and (3) whether it is permanent. See South Carolina Pipeline Corp. v. Lone Star Steel

Co., 345 S.C. 151, 155, 546 S.E.2d 654 (S.C. 2001). Permanence is the most important factor in

the analysis. Id.; Ervin v. Continental Conveyor & Equipment Company, Inc., 674 F.Supp.2d 709

(D.S.C. 2009). In establishing the three-pronged analysis for an improvement to real property,

the South Carolina Supreme Court South Carolina Pipeline found that an underground pipeline

was a permanent improvement to real property for statute of repose purposes. 546 S.E.2d at 657.

The Supreme Court stated that:

       We have not defined the term ‘improvement’ in the context of § 15-3-640. In
       construing that term for purposes of the Betterment Statutes [S.C. Code Ann. §§
       27-27-10], we cited with approval the then-current definitions of “improvement”
       from American Jurisprudence and Corpus Juris Secundum:

          The phrase ‘permanent improvements’ means something done to or put
          upon the land, which the occupant cannot remove or carry away with him,
          either because it has become physically impossible to separate it from the
          land or because, in contemplation of law, it has been annexed to the soil
          and is therefore to be considered a part of the freehold.... It has been held,
          on the one hand, that the term ‘improvements’ applies only to things which
          have been placed upon the land under such circumstances as to make them
          a part of the realty, and, on the other hand, that it comprehends all additions
          to the freehold, except trade fixtures which can be removed without injury
          to the building.

       Dunham v. Davis, 232 S.C. 175, 183-84, 101 S.E.2d 278, 282 (1957).”

546 S.E.2d at 656.

       To the contrary, the Ervin court determined that an incline conveyor was not an

improvement to real property even though it was bolted down and was hardwired to the facility’s

electrical system. 674 F.Supp.2d at 720. The Ervin Court found that the conveyor was movable,


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                         and thus, not permanent.1 Id. Similarly, the court in Murray v. D.R. Horton, Inc., the court

denied a defendant’s motion for summary judgement because it failed to prove that the electrical

cooking range it installed in the plaintiff’s home was “permanent” under the statute of repose.

2015 WL 9581758 (D.S.C. 2015). The Court found that the range was easily movable – it was

simply plugged into a wall outlet and was not bolted down to the floor. Id. Courts in other

jurisdictions have reached similar conclusions. See Noll by Noll v. Harrisburg Area YMCA, 643

A.2d 81, 89 (Pa. 1994)(A diving platform was not an improvement to real property, “[r]emoving

[a] diving platform did not require any special skill and was often done by parents and coaches

conducting swim meets.”). See Comm. Fin. Co. v. Brooksville Hotel Co., 98 Fla. 410, 123 So.

814, 816 (Fl. 1929)(holding that a refrigerator, even though it is attached by wires and pipes to

the building and may even be placed upon a specially constructed base or foundation, is

personalty and not a fixture); Sweeting v. Hammons, 521 So.2d 226, 228–30 (Fla. Dist. Ct. App.

1988)(holding that two bars, icemaker, coolers, water heater, air conditioner, cabinets and

shelving were not fixtures); First Fed. Sav. and Loan Ass'n of Oklaloosa Cnty. v. Stovall, 289

So.2d 32 (Fla. Dist. Ct. App. 1974) (holding that a hot water heater, sink, plumbing attachments,

countertop and backsplash, dishwasher, disposal unit, lights, cabinets, range hood and drop-in

range were all personalty and not fixtures); Zimring–McKenzie Const. Co. v. City of Pinellas

Park, 237 So.2d 576 (Fla. Dist. Ct. App. 1970) (holding that underground water and sewer

1
 Another factor the Ervin court considered was whether the product could easily be removed from
the real property without causing damage to the unit or the building. 674 F.Supp.2d at 717-18 (citing
Tropello v. Matthews Co., 1994 WL 161380 (E.D.Pa.). When a product can be easily removed from
a building, and its removal will not damage the building or the product, the product is likely not a
permanent improvement to real property. Id.

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                        systems installed in a subdivision were personal propertyand not fixtures); GECC Leasing Corp.

v. Berkshire Life Ins. Co., 226 So.2d 231, 233 (Fla. Dist. Ct. App. 1969)(holding that air

conditioning units were not fixtures, but personal property).

       Additionally, courts are reluctant to consider a mass-produced appliance that is brought

into a home a permanent improvement to real property. The Ervin court briefly mentioned the

case of McCormick v. Columbus Conveyor, 564 A.2d 907, 910 (Pa. 1989), which, in holding that

a conveyor system was a permanent improvement, noted that it was clear the manufacturer in

that case Adid more than supply a standard piece of equipment, indistinguishable from any other

it mass produced, that by chance became affixed to the University=s property.@ Ervin, 674

F.Supp.2d at 720. The court helped distinguish the McCormick case from the Tropello case

previously mentioned by noting that the conveyor system in Tropello was not Auniquely

suited@ to the bakery in which it was installed, and that this helped show that the mass-

produced nature of the conveyor Adid not indicate the system was a permanent improvement.@

Id. at 717. This indicates that the District Court attached significance to whether something was

mass-produced or specifically designed for the real property in question.

       This mass-produced theory relating to products is bolstered by cases in other

jurisdictions, where courts were asked when statutes of repose protect manufacturers of mass-

produced items.     For example, In Witham v. Whiting Corp., the Seventh Circuit, citing

McCormick, held the plaintiff failed to Aequate a crane with a clock or water heater when they

describe it as a mass-produced product . . .. [Defendant] did not place the crane into the stream

of commerce. It did not simply pluck the crane from its inventory and ship it to [Plaintiff].


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                         Instead, it specifically manufactured the crane for [Defendant] based on information provided

about Defendant=s plant.@ 975 F.2d 1342, 1347 (7th Cir. 1992). The Dehumidifier in this case

proves to be the inverse of the crane. Rather than being specifically designed for the Plaintiff=s

home, it was mass-produced product placed into the stream of commerce like other household

appliances. Durig Affidavit, ¶ 6.

       Here, the Dehumidifier is not an improvement to real property within the statute of

repose context because it is not permanent. The Dehumidifier was not bolted down, was not

hardwired into the home’s electrical system, and could be unplugged and moved without

damaging the Dehumidifier or the Wyatt Home. See Murray, 2015 WL 9581758; Dunham, 101

S.E.2d at 282; Durig Affidavit, ¶ 6. After the Fire, the fire department removed the Dehumidifier

from the Wyatt Home, presumably because of its involvement as the cause of the Fire. See

Durig Affidavit, ¶ 6e. The Dehumidifier was not specifically designed to be uniquely situated in

the Plaintiff=s home, like the conveyor in McCormick, but was instead a mass-produced product,

like the conveyor in Tropello. Ervin, 674 F.Supp.2d at 717; Durig Affidavit, ¶ 6. Therefore,

under the court’s rationale in Ervin, the fact that the Dehumidifier was mass-produced and not

uniquely suited for the Wyatt home indicates that it was not a permanent improvement in the

statute of repose context.



                             I. SUMMARY JUDGMENT EVIDENCE

       Plaintiff’s Motion for Partial Summary Judgment is supported by the pleadings on file in

this Cause and by the following summary judgment evidence which is incorporated herein for all


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                         purposes as if fully set forth:

       Exhibit 1: Affidavit of Mark W. Moran with attached exhibits:

                   A. Defendant Therma-Stor LLC’s Responses to Plaintiff’s First Set of
                      Interrogatories.

                   B. Defendant Resideo         Technologies,     Inc.’s   Answers   to   Plaintiff’s
                      Interrogatories.

                   C. Defendant Therma-Stor LLC’s Answer to Complaint.

                   D. Defendant Resideo Technologies, Inc.’s Answer to Complaint.

       Exhibit 2: Affidavit of Dr. Bryan Durig.

       Exhibit 3: Plaintiff’s Complaint




                                        I. CONCLUSION

       Based on the foregoing, Plaintiff is entitled to summary judgment on Defendants’

affirmative defenses of statute of limitations and statute of repose. Plaintiff timely filed this

lawsuit within three (3) years of the Fire and the Dehumidifier is not a permanent improvement

to real property under South Carolina law as a matter of fact and matter of law.

       WHEREFORE, Central requests that this Court grant its Motion for Partial Summary

Judgment and enter summary judgment on Defendants’ affirmative defenses of the statute of

limitations and statute of repose.




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                        Respectfully submitted,

                                            HENDERSON, BRANDT & VIETH, P.A.


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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of November 2021, I electronically filed the
foregoing document with the Clerk of Court for the U.S. District Court, District of South
Carolina, using the electronic case filing system of the Court. The electronic case filing system
sent a "Notice of Electronic Filing" to the attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means.


                                            /s/ George Brandt, III
                                            George Brandt, III




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